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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 KNIGHT FIRST AMENDMENT                        )
 INSTITUTE AT COLUMBIA                         )
 UNIVERSITY, et al.                            )
                                               )
         Plaintiffs,                           )   Civil Action No. 18-1129 (EGS)
                                               )
                 v.                            )
                                               )
 DEPARTMENT OF DEFENSE, et al.                 )
                                               )
         Defendants.                           )


       DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION FOR A
                     PROCESSING SCHEDULE

                                    INTRODUCTION

       This Freedom of Information Act (“FOIA”) suit involves Plaintiffs’ three (3) multi-

part FOIA requests for records that relate to the prebublication review processes and

procedures of 20 Executive Branch agencies, including written communications with current

and former federal government employees, many of which contain information that is

personal, confidential, proprietary, sensitive, and/or classified and thus protected from

disclosure under FOIA. In the instant motion, Plaintiffs seek an order that would require the

Defendants, the Central Intelligence Agency (“CIA”) and Department of Homeland Security

(“DHS”), to complete processing and produce all responsive records by July 16, 2019, and

June 25, 2019, respectively. See Pls.’ Mot. for Processing Schedule at 1. The Court should

deny Plaintiffs’ motion.

       As an initial matter, Plaintiffs’ request for an order compelling DHS to complete

processing and production of responsive records by June 25, 2019, is moot. Since the filing

of Plaintiffs’ motion, DHS has completed processing of responsive records and produced all

non-exempt, responsive records (or the portions thereof) in a final response letter dated June
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3, 2019, which the agency sent to Plaintiffs via e-mail on the same day. Accordingly, because

DHS has completed processing Plaintiffs’ FOIA request, the Court should deny Plaintiffs’

motion as moot with respect to Defendant DHS.

        Plaintiffs’ motion with respect to Defendant CIA should also be denied. In the

intervening months since the CIA acknowleged receipt of the prepublication review FOIA

requests at issue in this case, the agency has: (1) searched for and identified approximately

1,870 responsive records—the vast majority of which were identified by a painstaking and

time-intensive manual review of the agency’s Pre-Publication Review Board’s hard copy files;

(2) issued two interim responses to Plaintiffs (which included the production of roughly 124

records); and (3) proposed a processing and production schedule for the remaining 1,746

records that attempts to balance Plaintiffs’ desire to obtain responsive records as expeditiously

as possible with the CIA’s existing workload obligations and resource constraints. See

Amended Joint Status Report ¶ G, ECF No. 33.

        Plaintiffs largely ignore Defendant CIA’s good faith effort to process and produce the

remaining responsive records as expeditiously as practicable, insisting instead that Defendant

CIA should be required to complete processing and production of the remaining records in a

little over a month. The only grounds Plaintiffs proffer in support of their expedited

timeframe are the amount of time that has passed since they submitted Request 2 (19 months),

and it gives the CIA two months from the date of the filing of Plaintiffs’ motion to complete

production. But Plaintiffs fail to consider the substantial amount of time that it has taken the

CIA to identify the over 1,800 records that are responsive to Request 1 and Request 2, the

time required to complete production, and the CIA’s competing obligations and demands on

its FOIA staff.




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        Nor is Plaintiffs’ request that the CIA complete processing and production of the

remaining approximately 1,746 responsive records in two months a reasonable one. Plaintiffs’

two-month processing schedule risks the inadvertent disclosure of proprietary, confidential,

and/or classified information that is otherwise exempt from production under FOIA. The

risk of inadvertent disclosure of proprietary, confidential, and/or classified information is

particularly heightened given the nature of the records that are responsive to Plaintiffs’ FOIA

requests. Plaintiffs’ two-month processing and production deadline also disadvantages other

requestors by prioritizing Plaintiffs’ FOIA requests by unfairly leap-frogging them to the front

of the CIA’s processing queue.

        Accordingly, for the reasons set forth in detail below and in the accompanying Shiner

Declaration, the Court should deny Plaintiffs’ motion for an expedited processing schedule,

or in the alternative for a status conference.

                                       BACKGROUND

        This lawsuit involves three FOIA requests sent to no less than 20 Executive Branch

agencies, seeking records about the agencies’ pre-publication review processes—the policies

and procedures governing the review of written materials drafted or prepared by current or

former federal government employees, which discuss or reference their federal government

service, prior to their publication. See Compl. ¶¶ 1, 14-123. The CIA received two of the three

FOIA requests (FOIA Request 1 and FOIA Request 2).

        FOIA Request 1 was submitted to the CIA on May 9, 2017. FOIA Request 1

requested records related to the agency’s prepublication review of material published by 22

indentified individuals.   More specifically, it asked for all correspondence between the

government and any of the individuals, and any inter- and intra-agency correspondence,

related to the prepublication review or publication of material intended to be published in their


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personal capacities, and all records reflecting decisions related to the pre-publication review of

material published by the 22 identified individuals. See id. ¶¶ 14-17. The CIA acknowledged

receipt of FOIA Request 1 on May 15, 2017, see Answer ¶ 27, ECF No. 22, and on October

31, 2017, sought to narrow the scope of Request 1 to records “related to” the publications of

the individuals named in Request 1 . See Shiner Decl. ¶¶ 14-17; see also Exhibit B to Shiner

Decl. To date, Plaintiffs have not responded to the CIA’s October 31, 2017 letter. See Shiner

Decl. ¶ 9.

        On December 13, 2017, Plaintiffs submitted FOIA Request 2 to the CIA. See Compl.

¶¶ 14, 43; see also Answer ¶ 58. FOIA Request 2 sought wide swaths of additional records

related to the agency’s prepublication review processes -- specifically, all non-disclosure and

other agreements imposing prepublication review requirements on all agency and former

agency employees; all documents relating to administrative appeals filed from prepublication

review determinations; and all documents relating to sanctions on agency and former agency

employees for failing to comply with prepublication review requirements. See Compl. ¶ 44. In

addition to these specific requests, FOIA Request 2 submitted to the CIA contains an

additional request, seeking records related to “any investigation by the CIA or CIA OIG into

the composition and practices of the Prepublication Review Board, incuding any final report.”

Compl. ¶¶ 44-45. The CIA acknowledged receipt of Plaintiffs’ FOIA Request 2 on December

20, 2017, see Answer ¶ 58, and on January 12, 2018, sought to narrow the scope of this request

to responsive records within the past year. See Answer ¶ 59; see also Shiner Decl. ¶ 11; Exhibit

G to Shiner Decl.

        By letter dated January 24, 2018, Plaintiffs agreed to narrow the parts of Request 2

related to administrative appeals and sanctions to responsive records within “the last year,”

but reserved the right “to ask that the agency process responsive records for additional years


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. . . if there are few responsive records from the last year or if the records from the last year

do not appear representative.”     See Exhibit H to Shiner Decl; see also Answer ¶ 60. With

respect to the part of Request 2 that sought agreements, Plaintiffs agreed to limit that part to

“‘[a]ll non-disclosure agreement forms/templates’ that are currently in use,’” but denied the

CIA’s request to limit the request to responsive records within the past year. See Exhibit H to

Shiner Decl. Plaintiffs’ January 24, 2018 letter did not address the CIA’s request to narrow

the scope of the request for records related to an Office of Inspector General investigation

concerning the agency’s pre-publication review practices. See Shiner Decl. ¶ 12.

        On February 2, 2018, the CIA sent Plaintiffs a third letter attempting to determine

whether Plaintiffs agreed with the agency’s modification regarding the scope of the OIG

request. See id.; see also Answer ¶ 61. Plaintiffs responded via letter dated February 16, 2018

letter. See Shiner Decl. ¶ 12; see also Answer ¶ 62. In their February 16, 2018 letter, Plaintiffs

rejected the agency’s request to limit the temporal scope of records responsive to the OIG

request and offered a counter proposal, which narrowed the request by seeking (1) “[a]ny

document, including final report, related to the investigation begun by the CIA or CIA OIG

in or about May 2012 into the composition and practices of the Prepublication Review Board

(‘new item 4(a)’)” and (2) “[a]n document, including final report, related to any investigation

by the CIA or CIA OIG into the composition and practices of the Prepublication Review

Board within the last five years (‘new item 4(b)’).” Exhibit J to Shiner Decl.

        On March 1, 2018, and on May 11, 2018, the CIA wrote to Plaintiffs, memorialzing

the agency’s understanding of the parties’ agreed-upon modifications to Request 2. See Shiner

Decl. ¶ 13. To date, Plaintiffs have not responded to either letter. See id. However, on May

11, 2018, the same day that the CIA sent its second letter to Plaintiffs, Plaintiffs filed this




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action, alleging, inter alia, that the CIA had violated FOIA with respect to Request 1 and

Request 2. See id.; see also generally Compl.

        In the intervening nineteen months since Plaintiffs submitted Request 1 and Request

2, and not withstanding having a narrowing agreement in place for only certain subparts of

Plaintiffs’ requests, the CIA has conducted a search for responsive records and identified

approximately 1,870 records that are potentially responsive to Request 1 and Request 2. See

Shiner Decl. ¶¶ 16-28. By letters dated March 6, 2019, and April 30, 2019, the CIA has issued

two interim responses to Request 1 and Request 2, which included the production of

approximately 124 records. See Pls.’ Mot. for a Processing Schedule at 7; see also Shiner Decl.

¶¶ 16-28.     For the remaining records (i.e., the roughly 1,746 records that remain to be

processed and produced), the CIA has proposed (1) to produce by June 28, 2019, one-third

of all responsive, non-exempt records; (2) to produce by September 30, 2019, half of all

responsive non-exempt records; and (3) to complete production of all responsive, non-exempt

records by December 19, 2019. See id. ¶ 28.

        Plaintiffs rejected this schedule and filed the instant motion asking that the CIA

complete production of all responsive, non-exempt records by July 16, 2019, or in the

alternative, for a status conference. The sole grounds Plaintiffs provide for why this timeframe

is reasonable are that it is 19 months after they submitted Request 2, and that it gives the CIA

two months from the date of the filing of Plaintiffs’ motion to complete production. See Pls.’

Mot. for a Processing Schedule at 10.

                                          ARGUMENT

        As set forth in detail in the attached Shiner Declaration, the CIA searched for and

identified roughly 1,870 records that are responsive to Request 1 and Request 2, issued two

(of five) interim responses (with which Defendant CIA produced approximately 124 records),


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and proposed a processing and production schedule for the remaining 1,746 records that

balances Plaintiffs’ desire to obtain records expeditiously with the significant amount of work

required to process these prepublication review records, the agency’s burgeoning FOIA

workload, and the agency’s responsibility to protect sensitive information from inadvertent

disclosure.

        By focusing on the number of records they have received through the CIA’s two

productions and the time elapsed since the requests were submitted, Plaintiffs pay short shrift

to all of the work that the CIA has put into processing Plaintiffs’ extremely broad requests and

the work yet to be done. The CIA had to manually review hard copy files of the Prepublication

Review Board (“PRB”) to search for records responsive to Plaintiffs’ requests. See Shiner

Decl. ¶¶ 17-18. This is in direct contrast to the typical FOIA matter for which Defendant

CIA is usually able to conduct a search for responsive records by conducting key word

searches of electronic files for responsive records. See id.

        In this case, Plaintiffs’ FOIA requests necessitated the agency’s manual review of hard

copy files because the “PRB hard copy file is the most comprehensive and complete

compilation of all correspondence and other relevant documents related to the prepublication

review process.” Id. ¶ 17. The CIA’s search identified over 1,800 potentially responsive

records, which then had to be scanned into the CIA’s FOIA record review system. Id. ¶ 19,

24. This “took a significant amount of time, as box after box had to be sorted and scanned.”

Id. ¶ 24. In addition, “extensive duplication exists within the set of potentially responsive

records.” Id. ¶ 25. It required additional time to make sure that duplicate documents were

processed in a consistent manner. Id.

        Plaintiffs also ignore the amount of time that it will take the agency to determine

whether there is any information in the approximately 1,746 remaining records that is


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protected against disclosure under FOIA. Once documents are identified as responsive, a

time-consuming review of those documents has to be conducted to determine whether they

are subject to any of FOIA’s exemptions from disclosure. See id. ¶¶ 21-23. Here, the normal

review process, which includes consulting with Subject Matter Experts to determine the

propriety of redactions, is made particularly challenging and time-consuming as a result of “the

nature and potential sensitivities of the documentation requested.” Id. To that point, in the

context of prepublication review material, “much of the internal correspondence contains

classified information that must be redacted or withheld in full.” Id. ¶ 22. As a result, in order

to process properly many of the records responsive to Request 1 and Request 2, Subject Matter

Experts will work with CIA’s FOIA experts to conduct “a line-by-line review of [the majority

of the roughly 1,746 remaining records identified in the PRB’s hard copy file] . . . in order to

determine the segregability of the information contained within these documents.” Id. And

once these individuals have made their segregability and exemption determinations, “senior

FOIA officials and the Office of General Counsel” need “additional time” to review the

potential releases and coordinate with other agencies, the latter of which is a process that the

CIA does not have complete control over. Id. ¶¶ 23, 28.

        Nor is the processing of Plaintiffs’ FOIA requests the only work with which the CIA’s

FOIA office is tasked, obviously. Over the last few years, “the number of FOIA requests sent

to [the] CIA has consistently increased.” Id. ¶ 26. For example, “in 2017, there were 2,572

FOIA requests submitted to CIA, but this number increased to 2,726 in 2018.” Id. The CIA

has also experienced an unanticipated increase in its FOIA workload in recent months,

including unforeseen competing deadlines. See id. The fact that a senior FOIA expert has

left the agency has only further inhibited the CIA’s ability to manage its burgeoning FOIA

workload. See id.


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        In light of all these factors, the CIA’s proposed schedule, pursuant to which it will

complete production of the roughly 1,746 remaining responsive, non-exempt records in 6

months, is reasonable. It ensures that the CIA will be able to comply with existing deadlines

in other FOIA matters, does not disadvantage other requestors whose FOIA requests have

also been pending in the agency’s queue, and protects sensitive information from inadvertent

disclosure. See, e.g., Daily Caller v. Dep’t of State, 152 F. Supp. 3d 1, 14 (D.D.C. 2015) (requiring

the defendant agency to process and produce records that include sensitive national security

material on an abbreviated deadline “raises a significant risk of inadvertent disclosure of

records properly subject to exemption under FOIA”).

        By contrast, Plaintiffs’ proposal does not take any of these important (and time-

intensive) considerations into account and is not reasonable. Instead, if adopted, Plaintiffs’

proposal, which would require the CIA to process the remaining 1,746 records in a little over

a month from now, would: (1) risk disclosing classified and other sensitive information, (2)

unduly burden the agency’s already stretched FOIA personnel, (3) compromise CIA’s ability

to meet existing deadlines in other FOIA cases, and (4) disadvantage other FOIA requestors.

The Court should not require such a result. See Middle E. Forum v. U.S. Dep’t of Homeland Sec.,

297 F. Supp. 3d 183, 185 (D.D.C. 2018) (internal citation omitted) (explaining that in this

Circuit, there are “two long-standing principles that apply to FOIA cases,” one of which is

that courts consider “the effect of other FOIA requests when analyzing the burden on an

agency of meeting deadlines for review and production of FOIA material in a given case”).

                                        CONCLUSION

        For all of the foregoing reasons, Defendants respectfully request that the Court deny

Plaintiffs’ motion and adopt the CIA’s proposed schedule. Defendants do not believe that a




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status conference is necessary and for that reason object to Plaintiffs’ alternative request for

one.



 Dated: June 6, 2019                          Respectfully submitted,

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                            CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served to all counsel of

record via the Court’s CM/ECF system on this 6th day of June, 2018.



                                             /s/ Tamra T. Moore
                                             TAMRA T. MOORE




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